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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                 Case No.: 16-20897-CR-SEITZ

 UNITED STATES OF AMERICA

              v.

 PRINCESS CRUISE LINES, LTD.,

        Defendant.
                                         /

                      JOINT STATUS REPORT TO BE CONSIDERED
                   DURING STATUS CONFERENCE ON DECEMBER 4, 2017

        In advance of the status conference to be held before this Court on December 4, 2017 (the

 “Status Conference”), Defendant, Princess Cruise Lines, LTD. (“Princess”), the wholly owned

 subsidiary of Carnival Corporation & plc (“Carnival”) (collectively referred to herein as the

 “Company”), respectfully submits this joint status report pursuant to the Court’s Order [DE-49]

 dated November 14, 2017, and would show:

   I.   Agreement Discussed During October 18, 2017 Status Conference

        As noted in the Court’s Order [DE-49], this matter came before the Court for a status

 conference on October 18, 2017. One of the issues raised during the status conference was a dispute

 among the parties and the Court Appointed Monitor, Steven Solow (“CAM”), regarding the role of

 the CAM under the Environmental Compliance Plan (“ECP”). After substantial discussions off-

 the-record, the parties and the CAM indicated to the Court that an agreement had been reached as

 to the relevant dispute and outlined that agreement, pending the CAM’s presentation of a new work

 plan outlining the work to be performed by the CAM and the Company’s response and acceptance

 of that proposal. These actions were subsequently completed and the agreement outlined in Court

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 on October 18, 2017, was accepted by the parties and the CAM.

        Response of the United States: The United States agrees that this issue is resolved.

 However, the government further notes the following. The CAM produced a Superseding Work

 Plan on October 20, 2017, and that Work Plan was accepted by the Company, after correspondence

 with the government. In the correspondence, Carnival stated that notwithstanding its agreement on

 the CAM’s budget and Superseding Work Plan, Carnival continues to maintain its views regarding

 the scope of the CAM’s mandate under the ECP, as set for in the Company’s Memorandum on

 Issues to be Considered on October 18, 2017 and reserves its right to make objections to specific

 requests by the CAM if Carnival feels they fall outside of the CAM’s mandate. The government

 notes that the Court explicitly rejected the position expressed in Carnival’s filing with regard to the

 CAM’s mandate. As the Court explained at the hearing, Carnival did not object to the imposition

 of sentence, which included the ECP, as well as the special conditions of supervision, or timely file

 an appeal. Carnival is bound to comply with the Court’s Judgment & Commitment Order.

 Accordingly, the government expects that any such objections by Carnival will be brought to the

 attention of the Court, Office of Probation and the government without undue delay. The United

 States reserves its right to propose that Carnival be found in violation of probation if there is any

 unreasonable failure to cooperate with the CAM (or Third Party Auditor), or unreasonable failure

 to respond to requests for access to records or facilities.

  II.   Status of the Issues Raised on Pages 4-11 of the Government’s Status Report, dated
        October 17, 2017 [DE-43]

        The Court’s Order [DE-49] also requested that the parties file a joint status report setting

 out how and when the issues raised on pages 4-11 of DE-43, the United States of America’s Status

 Report filed on October 17, 2017 (the “Government’s Submission”), were addressed by the

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 Company. If the issues have not been addressed, the Court requested that the Company set out its

 response to the issues and what, if anything, the Company intends to do to address the issues. Below

 is the Company’s update on the status of the various issues raised in the Government’s Submission.

        A. Notices of Violation 1

            In its submission, the Government noted that the Company has submitted ten notices of

 violations to the Office of Probation as of October 17, 2017. See DE-43 at 4. Since October 24,

 2017, the Company has submitted notices of violation to all of the Interested Parties2 and will

 continue to do so if future notices are required.3 In the Company’s submission to the Court on

 October 17, 2017 [DE-44] (the “Company’s Submission”), the Company acknowledged these

 notices of violations, which it will discuss in more detail below. See DE-44 at 21-23. Further, on

 October 16, 2017, the Company submitted an Update on Notices of Violation letter to the Office of

 Probation, CAM, and the Third Party Auditor (“TPA”) that addressed Notices of Violation #3, #6,

 #7, and #8. Since that time, the Company also submitted an eleventh notice of violation to the

 Interested Parties, which it will also address here.

                a. Notice of Violation 01-2017 (May 25, 2017) – Costa Deliziosa

            This Notice of Violation reflected that the Costa Deliziosa was fined 5,000 euro for a

 violation related to a missing fuel sample that was observed on April 9, 2017, before the Company



 1
     The following issues were raised by the Government on pages 4-7 of the Government’s Submission [DE-43].
 2
  Under the ECP, the “Interested Parties” are defined as the Government, the United States Probation Office for the
 Southern District of Florida, the Seventh Coast Guard District (dp), and the U.S. Coast Guard Office of Investigations
 & Analysis. See ECP § I.D [DE 2-2].
 3
  Prior to this, the Company did not submit notices of violation directly to the Government due to its understanding of
 Special Condition 13 of the Judgment in this case [DE-30], which reads: “Required Notification – Breach of
 Compliance: The defendant corporation is to inform the U.S. Probation Officer, CAM and TPA of any breach of the
 ECP involving the defendant company.” DE-30 at 4. As noted above, the Company will continue to submit the
 notices to the Government as well.
                                                           3
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 was sentenced by this Court. For context, the governing procedure, TEC-1402, requires three

 samples to be taken: one is kept by the supplier, one is retained onboard the ship (“MARPOL”

 sample), and one is sent shoreside for lab analysis. After an internal review in which relevant

 individuals were interviewed, it was determined that the Company did in-fact purchase

 environmentally compliant fuel and stored it onboard but the shipboard personnel were unable to

 locate the sample for the Italian Coast Guard due to confusion regarding the serial number.

 Nevertheless, shortly after the incident was reported, the onboard sample was found. Following

 the incident, preventative training was conducted to mitigate the risk that samples would actually

 be misplaced and to prevent related issues. Further, the Staff Engineer hosted a meeting with all

 relevant personnel regarding management of fuel samples during bunkering and emphasized its

 importance. The Company has also since issued an Environmental Compliance Notice to the fleet

 regarding this issue; added a section to both the Environmental Officer (“EO”) CSMART training

 course and the new Compliance to Commitment course at CSMART for all deck and technical

 officers; and is currently updating the Global HESS procedure.

        Response of the United States: Carnival’s response treats this as an isolated issue. The

 government is aware of other instances where samples were missing. As a result, the government

 believes that this is a more widespread problem that requires attention. Carnival’s response in this

 instance does not identify the timing and method of the corrective actions taken, or explain where

 the fuel was found, and where it was during the period when it could not be located.

            b.         Notice of Violation 02-2017 (May 25, 2017) – Alaska Settlement

        This Notice of Violation reflected an administrative proceeding relating to a settlement

 agreement entered into on May 22, 2017 between Holland America Line and Princess Cruises and

 the State of Alaska regarding alleged violations of air emission standards from 2009-2014. The
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 Company took these issues very seriously, investigated each incident, and collaborated with the

 Alaska Department of Environmental Conservation to resolve the violations. The Company also

 had self-reported many of these violations.

         Response of the United States: The government views this response as inadequate and not

 fully responsive. In the first instance, Carnival needs to identify what standards were violated, how

 often, what preventative measures have been taken, and whether any similar conduct or violations

 have recurred. Additionally, it remains unknown whether Carnival’s investigation determined a

 root cause of air pollution violations. The government further notes that it understands that the

 Company’s challenge of some violations and mitigation of penalties does not necessarily mean that

 the violations did not occur.

             c. Notice of Violation 03-2017 (June 2, 2017) – Greater Farallones National Marine
                Sanctuary

         In the Notice of Violation, the Company explained that four Princess Cruise Line ships and

 one Holland America Line ship had made illegal discharges inside the expanded boundaries of the

 Greater Farallones National Marine Sanctuary, in contravention of the National Oceanic and

 Atmospheric Administration’s (“NOAA”) marine sanctuary regulations. The underlying conduct

 occurred before the probationary period began in this case and was due in part to ineffective voyage

 planning and inadequate review of the appropriate and up to date electronic charts.4

         Once the potential sanctuary violations came to management’s attention in or about

 December 2016, an internal review was conducted to determine the scope and root cause of the




 4
  This issue was brought to the Company’s attention by a Voyage Planning Officer and an EO who were reviewing a
 voyage plan through this area. The issue was reported to management, following which an internal review was
 undertaken and the Company subsequently self-reported.
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 possible violations. Ultimately, Company management self-reported the incident to the NOAA on

 May 19, 2017.      Management sent messages to the fleet shortly thereafter, including an

 Environmental Compliance Notice and a Must See Message, re-emphasizing the importance of

 voyage planning and the fact that the sanctuary boundaries were expanded effective June 15, 2015.

 Since that time, long-term corrective actions have also been undertaken at the Company, including:

 (1) implementing a voyage planning section within the training courses given to EOs (who are not

 trained as bridge officers); (2) requiring Fleet Chief Engineers and Fleet Captains to review the

 voyage planning process during ship visits; (3) launching a Top 5 risks initiative to drive down the

 number of future incidents; (4) requiring that EOs across all vessels in the Company, including the

 Covered Vessels, participate in the Voyage Planning Process and review and confirm the voyage

 plan; (5) Carnival Cruise Lines (“CCL”) undertaking a time/motion study for EOs, the findings of

 which will be shared with other operating lines who likely will do the same; (6) instituting a

 supplemental six hour environmental training program (called “Compliance to Commitment”) for

 all deck and technical officers when they attend their annual training at CSMART, the Company’s

 global training center in Almere, Netherlands; and (7) modified the CSMART courses relating to

 voyage planning and electronic navigation to increase the focus on scrutinizing environmental

 information (including incorporating a marine sanctuary area in a simulated exercise to assess

 attendees). The goal of these endeavors, and others, was both to remediate the relevant and address

 its root cause.

         It should also be noted that NOAA has also commenced its own investigation, with which

 the Company has fully cooperated. NOAA has expressed its satisfaction with the Company’s level

 of cooperation.


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        Response of the United States: It appears from Carnival’s response that it has taken various

 remedial measures. However, it is not clear that the remedial measures listed above are all related

 to voyage planning. The government would like to be informed why it took from December to

 May to self-report and send messages to the fleet? Carnival’s response does not fully address the

 questions set forth in the government’s pleading, including what was the root cause of these illegal

 discharges. As set forth in our prior pleading, we think key questions include: (1) were these cruise

 ships utilizing up-to-date navigational charts on the bridge and if not, why not; (2) if the ships were

 utilizing up-to-date navigational charts on the bridge, did the engineering officers and

 Environmental Officers (“EOs”) have up-to-date navigational charts; (3) were engineering officers

 and the EOs adequately trained regarding the applicable discharge rules of National Marine

 Sanctuaries and other limited and/or no discharge areas; and (4) was voyage planning properly

 conducted and properly documented on these ships and voyages. Both the TPA and CAM have

 expressed more generic concerns about voyage planning, particularly because there are multiple

 incidents, including discharge events, that suggest a larger problem. Accordingly, the government

 renews its request that Carnival address the issues above with greater specificity.


            d. Notice of Violation 04-2017 (June 26, 2017) & Notice of Violation 06-2017 (July
               26, 2017) – Issues Related to Training Records

        In Notice of Violation 4, the Company explained that on June 8, 2017, the Captain of the

 Diamond Princess launched an investigation regarding the EO onboard after concerns of poor

 performance and improper recordation of training tracking documentation had been raised. During

 the investigation, it was discovered that the EO had not properly initiated the viewing of an

 Environmental Compliance and Stewardship video, an ECP requirement, and improperly tracked

 task completion. On June 11, based on the findings from the Captain’s investigation, the EO was
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 dismissed and disembarked from the ship. The Company made every effort to identify and

 ultimately find a replacement EO in a timely fashion.

        In addition to the disciplinary action, the Company also took corrective and preventative

 actions as a result of this incident, including conducting a fleet-wide review of training and training

 record accuracy. No issues were found with any of the Covered Vessels during this review.

 Through this review, the Company also determined that one of the root causes of the issue was the

 tight timeline to implement ECP requirements and video program, which was exacerbated by the

 fact that the corporate-wide learning management system has yet to be implemented by all operating

 lines. The Company has been and will continue to work on implementing such a system.

        Further, in order to ensure that it’s EOs are not overloaded in their job responsibilities, a

 concern raised by the Government in its submission, see DE-43 at 7, the Company has revised the

 role of the EO and more tightly defined the role as 100% focused on compliance, allowing EOs to

 focus on environmental and ECP compliance, including the new activities imposed on EOs by the

 ECP. The Company also employs an Environmental Training program that is designed to support

 the EOs in their role. Further, the Company has structured the EO position so that it is supported

 by both vessel (reporting to the Captain of each ship) and onshore management. Finally, the

 Company is also reviewing the EO career path and recruiting statement to ensure that it employs

 the most qualified EOs and encourage company officers to serve in this important position.

 Overall, the Company has engaged in a corporate wide effort to review and verify records, complete

 training, and underscore the importance of accuracy in record keeping.

        Similarly, Notice of Violation 6 related to the falsification of training records by an EO on

 Costa Luminosa. Since notification of this issue on July 22, 2017, multiple interviews were

 conducted by the Company with those onboard, who have confirmed that they never took part in
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 the alleged training and that the signatures are not theirs.        Also, since the Environmental

 Compliance Manager (“ECM”) was informed of the issue, he raised it to the Costa Group Operating

 Line Compliance Manager, the ship Captain, Staff Captain, HR Director, and a representative of

 the Unions. The Costa Group Operating Line Manager has since informed the necessary parties

 shoreside and a review and disciplinary procedures were immediately put into action. Further,

 interviews of potential employees involved or witnesses were conducted to determine the extent of

 the problem and the root cause.

        The fact that this was the second falsification related issue has caused the Company to take

 additional action:

       All Operating Lines were directed to conduct a review on all vessels to determine whether
        required environmental training has been completed as reported. To the extent the Company
        identified gaps in required training, every effort was made to remedy those gaps in a timely
        manner.

       Incomplete training, if any, should have been completed no later than August 10, 2017. As
        of this writing, the Company believes that the training has been substantially completed
        except for so called “new joiners,” who will be required to take the training upon boarding.

       Inaccurate reporting of training completion rates will be reported to Chris Donald, the ECP
        Corporate Compliance Manager, and immediately investigated.

       The Company communicated to the fleet the importance of the training, including accurate
        and truthful record keeping, and in particular the Master’s responsibility to ensure training
        is completed.

       The Company will be reviewing the Company’s procedures for rolling out training to
        determine whether there may be opportunities to improve the process both at launch and in
        confirming completion.

       The Company is also working to establish an improved recordkeeping infrastructure to
        receive data and record/report training activity on an ongoing basis. This would include
        crafting a standard roster for each environmental/ECP training course, ensuring that there
        are written procedures for uploading training roster data in the electronic systems of record
        appropriate for each fleet, providing reports/feedback to each fleet to verify system or record


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         reflects training activity on board and identify discrepancies early, and working towards
         daily-auto-generated ECP training status reports.

         In its discussion of these Notices of Violation, the Government also noted that the “TPA

  has also reported an issue with maintaining accurate training records on the Sapphire Princess.”

  DE-43 at 6. The TPA audit findings on the Sapphire Princess are discussed infra.

         Response of the United States: The government appreciates the response above but has

  not verified the information. The government requests that Carnival provide the CAM and TPA

  with documentation of the above and the changes in policy and procedures so that they can be

  evaluated and audited.

         The United States is concerned that there appear to be instances in which Environmental

  Officers intentionally falsified training records for training required pursuant to the ECP. The

  government views deliberate falsification of records as apparent crimes. We understand that there

  are at least two other vessels where similar falsification of records have occurred.

         The government is concerned that Carnival terminated employees prior to making the

  disclosures to the government, the Court, or the CAM, and before determining the root cause of the

  violations. The government requests that Carnival identify all root causes that have been identified.

  The government understands that there are other instances involving the falsification of training

  records and requests that Carnival produce a list of all instances in which training records have been

  falsified on any vessel within the period of probation. Additionally, if the terminated EO in this

  instance was interviewed, the government would like to be informed regarding the details of his

  statement and any rationale offered for his actions.

             e. Notice of Violation 05-2017 (July 21, 2017) – Time to Replace EO

         On July 5, 2017, the Company became aware that it was operating without an EO onboard

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  for more than 7 days on two Holland America Line ships, in violation of the ECP. Throughout this

  time, the Company made best efforts to replace the EOs as quickly as possible, including the

  temporary reassignment of EO duties onboard until replacement EOs joined the vessels. The

  Company considers the issue closed.

         Response of the United States: It is not evident from this notice or response why the

  violations took place or what is being done to avoid future violations. The government asks that

  Carnival develop and provide a written plan to ensure the replacement of EOs on vessels within the

  time period required by the ECP.

             f. Notice of Violation 07-2017 (August 14, 2017) – Carnival Spirit

         In Notice of Violation 7, the Company explained that on July 22, 2017, the EO onboard

  Carnival Spirit reported to shore-side environmental operations that the ship’s Technical team had

  not recorded the periodic maintenance of the Oil Content Monitors (“OCMs”) in the Oil Record

  Book (“ORB”) since the ECP requirement came into force on April 19, 2017. However, while the

  maintenance of the OCMs was not recorded in the ORB, the actual maintenance was being

  conducted and recorded in the Planned Maintenance System (“PMS”). In response to this issue,

  the necessary entry was made in the ORB, the PMS was updated across the CCL fleet to remind

  personnel to record OCM maintenance in the ORB, and a communication was sent to the CCL fleet

  on August 1, 2017 reiterating the requirement to record OCM maintenance in the ORB and review

  current records to verify that all other ships have been implementing this practice.

         Following the above referenced communication, it was identified that five other ships

  (Carnival Breeze, Carnival Freedom, Carnival Glory, Carnival Pride, and Carnival Miracle) had

  also not implemented the OCM maintenance recordation requirement.                  As a result, an

  Environmental Compliance Notice was circulated throughout the entire Company fleet. All ships
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  were also required to discuss the recordation requirement with pertinent technical officers onboard

  and the Chief Engineer was required to conduct a review of all ORB entries made since April 19,

  2017 to ensure the OCM maintenance is being logged.

         Response of the United States: The United States understands that at least five vessels

  have not implemented this requirement which suggests a larger problem. A key component of

  prudent management and goal of the ECP is to identify trends and root causes rather than address

  each issue in isolation. The government requests that the results of the Chief Engineer’s review of

  ORB entries be provided. Was a similar analysis done on the other vessels that have been identified

  to have the same issue? The government further notes that no notice of violation was submitted for

  the other ships. The government requests that the communication sent to the fleet be provided to

  the interested parties, the TPA and the CAM.

             g. Notice of Violation 08-2017 (September 1, 2017) – Failure to Sign ORB

         As discussed in Notice of Violation 8, in August 2017, the Company discovered that the

  EOs on two ships within the Costa Group did not sign pages in the ORB, as required under the

  ECP, during certain periods. However, both the Captain and Chief Engineer continued to sign each

  page during the relevant periods. The Costa Group Operating Line Compliance Manager has

  reached out via phone and email to each AIDA and Costa ECP-Covered Vessel individually and

  confirmed with its EO that he/she has been signing each completed page of the ORB. Management

  also organized the signing of the missing ORB pages as soon as practicable. The failure to sign the

  ORB pages appeared to be related to a misunderstanding about the requirement and EO handoff of

  responsibilities. The Company ultimately circulated an Environmental Compliance Notice to

  remind all EOs of the requirement to review and sign each completed page of the ORB.

         Response of the United States: The government requests that the referenced notice be
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  provided to the interested parties. The government further questions why the Captain and Chief

  Engineer continued to sign and sign off on the ORB without the required EO signatures. The

  government also observes that several similar non-conformities have been identified in the TPA

  audit reports (Grand Princess; Seabourne Encore).

             h. Notice of Violation 09-2017 – Seabourn Odyssey

         As explained in Notice of Violation 9, on August 26, 2017, the EO onboard the Seabourn

  Odyssey had to disembark due to compassionate leave to tend to his wife. During his absence, the

  Senior First Officer was appointed to take over his role and an exception request was issued to

  shoreside and approved. The EO returned to the ship on September 5, 2017, three days longer than

  the seven calendar days allocated under the ECP. The Company employed its best efforts to find

  a replacement EO within the seven day allotment but was unable to.

             i. Notice of Violation 10-2017 – AIDAluna

         According to Notice of Violation 10, in August 2017, as part of an internal Company review

  into another matter, the Company separately found that the Environmental Control System (“ECS”)

  Log on the AIDAluna had not been implemented onboard per the requirements of the ECP.

  Following this discovery, the ship’s Chief Engineer implemented and began maintaining an ECS

  Log. Also, the ship’s Master instructed the Chief Engineer on the importance of ECP compliance

  and required that a working group be assembled, including an engineer appointed to focus

  exclusively on ECP compliance, and that the EO provide a daily report regarding the working

  group. An Environmental Compliance Notice was also issued reminding all shipboard employees

  of these, and other, requirements.

         Response of the United States: The summary of this violation is confusing. The

  government understands that one issue was the failure to maintain a log concerning environmental
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  seals. Seals and a log documenting their use are both essential parts of the ECP.

             j. Notice of Violation 11-2017 – Prinsendam

         As explained in Notice of Violation 11, on October 12, 2017, while the Prinsendam was

  alongside in Venice, Italy, Italian Coast Guard agents requested the ship to produce sample bottles

  of recent bunker operations. The ship was unable to locate a MARPOL sample, resulting in a 5,000

  euro fine. The results of the sample set ashore related to this issue were within the regulatory limits.

  Nevertheless, given the missing sample onboard, the Company is taking the following corrective

  and preventative action: (1) refer employees to the Environmental Compliance Notice issued on

  September 22, 2017 that emphasized the importance of TEC-1402; (2) the Chief Engineer onboard

  the ship will now maintain the keys and control of the Bunker Samples cabinet to ensure each

  Bunker Delivery Note matches the accompanying MARPOL sample onboard; and (3) a revised Oil

  Bunkering Checklist will be issued to the fleet to further clarify that the retained sample that is

  identified by the MARPOL seal number should be identified on the Bunker Delivery Note.

         Response of the United States:        Carnival’s above statement fails to recognize that the

  problem is larger than simply missing samples. In addition to Notice of Violation 1, the government

  understands that at least 5 vessels have been found to have missing samples and that there are

  additional failures to maintain bunker delivery notes. This is not only an ECP issue; this is an

  international requirement set forth in MARPOL Annex VI.

         Further comment of the United States: There is an additional violation that Carnival has

  reported, although it was not technically labeled a “Notice of Violation” and, thus, was not

  described in the October filings. On July 2, 2017, Carnival notified the interested parties of a

  missing solenoid valve on the Sun Princess centrifugal Oily Water Separator stating that an

  unauthorized modification to an engine room waste system had taken place and was reportable
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  pursuant to the ECP. The removal of this piece of equipment on a key component in the bilge water

  treatment system is a significant matter. The government requests that Carnival provide the

  interested parties, CAM and TPA with an update regarding this violation.

         B. CAM Notifications to Interested Parties 5

             In its submission, the Government noted that the CAM had made twelve notifications to the

  Government pursuant to the ECP as of October 17, 2017. See DE-43 at 8. It is important to note

  that these notifications might not always have been shared with the Company, although the

  Company has received some, and the Company does not know whether additional notifications

  have been made to the Interested Parties since October. As such, the Company will address the

  notifications specifically discussed in the Government’s Submission. Of course, the Company

  would be happy to address other CAM notifications, if any, upon identification and request.

             Response of the United States: Absent unusual and exceptional circumstances, the

  government understands that the CAM's notifications to interested parties will be provided to

  Carnival.

                 a. CAM Notification 06-26-2017 – Sea Princess

             The CAM advised the Interested Parties of information reported to him by the Company

  indicating that the Staff Captain of the Sea Princess had directed a discharge of untreated ballast

  water while in port in Hawaii in early May 2017. Although the discharge was approved by the

  Honolulu Ballast and Biofouling Coordination Manager, the discharge took place without the use

  of the Ballast Water Treatment System, as required. In response, in addition to notifying the CAM,

  the Company conducted and concluded an investigation, has notified the authorities (the U.S.



  5
      The following issues were raised by the Government on pages 8-9 of the Government’s Submission [DE-43].
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  Environmental Protection Agency), and has taken disciplinary action against the Staff Captain who

  was found to have circumvented the Company’s requirements prohibiting his actions.                The

  Company has also required that all officers involved receive additional training in ballast operations

  and that additional instructions be provided to officers that the Ballast Water Treatment System

  should be utilized at all times during ballasting and de-ballasting operations.

         Response of the United States: Carnival informed the CAM that it was conducting an

  investigation, had notified the authorities and had taken disciplinary action against the Staff

  Captain. The prosecutors and Coast Guard officers monitoring probation were not advised of the

  discharge by Carnival. An intentional discharge of untreated ballast water in U.S. waters is felony

  violation of the Aquatic Nuisance Act, 16 U.S.C. 4711. The government requests documentation in

  support of Carnival’s above representations. The government further notes that Carnival has not

  provided the results of its investigation or amended required reports that were submitted to the

  National Ballast Information Clearinghouse but which fail to report the discharge of untreated

  ballast water. Finally, the record above does not indicate whether Carnival has determined whether

  this has been an issue on other vessels or in other ports.

         Further Comment of the United States: The government requests that Carnival submit

  and adopt policies and procedures during the period of probation that will ensure that all future

  notifications, disclosures, and “self-disclosures” to, and communications from federal and/or state

  agencies be contemporaneously provided to the interested parties, and to the Office of Probation,

  CAM and TPA.

             b. CAM Notifications 07-07-2017 & 08-01-2017 – Discharge in Bahamian Waters

         On July 7, 2017, the Company informed the CAM that the Carnival Elation had made a

  discharge of untreated sewage inside Bahamian Archipelagic waters. At the time of the incident,
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  the vessel was twelve miles away from the nearest shore but was still inside the Bahamian

  Archipelagic waters. The vessel realized the error shortly thereafter and stopped operations. After

  conducting an investigation, the Company determined that the voyage planning for this voyage was

  completed, the voyage plan was posted in the vessel and sent via email to relevant parties, and the

  issue occurred because the First Officer mistakenly believed that he was ordering the discharge of

  grey water. The Company took immediate action, which included meetings with all deck and

  engine officers to discuss the issue and applicable rules, creating an action plan regarding the

  discharge of sewage and food waste, monitoring the future cruises to ensure that the action plan

  was being followed and addressed the issues, and updating the environmental schedule for the

  voyage to reflect updated procedures, which were made available on the vessels.

         On August 1, 2017, the CAM notified the Interested Parties that there had been at least three

  additional discharges of food waste and treated black water (i.e. sewage) inside Bahamian waters

  in violation of MARPOL.        After immediately conducting an internal review, the Company

  determined that one accidental discharge of Jacuzzi water was due to a failure of a valve automatic

  timer which is used for pool cleaning purposes. The other two discharges resulted from errors in

  voyage passage planning, namely a misinterpretation of Archipelagic Maritime Jurisdiction,

  causing baselines to not be clearly defined and taken into consideration. In all three incidents, the

  Company self-reported, conducted internal reviews and implemented detailed and immediate

  corrective actions such as repairing valves, changing valve procedures, and updating the voyage

  passage plan regarding the discharge of food waste and sewage in Bahamian waters. In addition,

  each operating line of the Company issued a communication to their fleet regarding archipelagic

  baselines, the Company engaged in an effort to identify all such baselines and needed itinerary

  changes, and the corporate Maritime Policy & Analysis team issued a fleet-wide Environmental
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  Compliance Notice that communicated the lessons learned from these incidents.

          In the Government’s Submission, the Government also suggested that these incidents may

  be indicative of a large problem regarding the voyage planning process. As discussed supra in

  Notice of Violation 3, the Company recognizes these issues and has taken several steps to remediate

  any concerns regarding voyage planning. The Company is committed to remediating these issues

  and getting it right.

          The foregoing provides the Company’s update on the CAM Notifications specifically

  referenced in the Government’s Submission. It should also be noted that, in regard to new or future

  potential issues, in addition to the Company’s other reporting obligations, the Company has been

  providing the CAM with full weekly “Flash Reports” containing summaries of HESS incidents that

  occur Company-wide on vessels and on-shore. The Company has also been diligent in responding

  to any follow-up inquiries that the CAM has raised after reviewing the Flash Reports, and the

  Company will continue to facilitate the CAM’s review.

          Response of the United States: The government cannot verify the accuracy of the above

  recitation provided by Carnival.

          The government views the issues presented as extremely significant and is concerned that

  the violations and underlying causes are systemic and ongoing. According to Carnival’s report,

  approximately 1,270 cubic meters of treated black water and 22 cubic meters of comminuted food

  waste were discharged inside Bahamian waters in violation of MARPOL and in violation of

  company procedures between June 4 - June 16. The most recent violations occurred in August and

  October 2017 on two vessels.

          The above response does not provide comfort that these violations are fully understood or

  under control. The government request that Carnival provide the interested parties, the CAM and
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  TPA, with a written plan to address systemically address the illegal discharges, and to ensure that

  Carnival vessels are keeping current and in full compliance with international and domestic

  regulations in all geographical zones.

         C. TPA Audits and Trends 6

             In its submission, the Government stated that it was in receipt of seven reports of vessel

  audits and one shore-side audit performed by the TPA as of October 17, 2017. See DE-43 at 9.

  The Government noted that, in general, the TPA audit reports provide many positive observations

  of shipboard activity, awareness, and attitudes.                  However, the Government also stated that

  significant problems have been observed, which are addressed in this section.

             As an initial matter, the Company believes that it is important to note, as the Government

  did in its submission, that none of the findings made by the TPA during the audits referenced by

  the Government were considered to be major non-conformities, as defined by the ECP.7 See DE-

  43 at 11. Nevertheless, the Government expressed concerns that two vessels, Sapphire Princess

  and Diamond Princess, “may be lagging behind vessels of other operating lines,” noting that the

  vessels had the largest number of non-conformities and some of those observations were “highly

  significant.” See DE-43 at 9. The Government particularly highlighted issues found during the

  Sapphire Princess, highlighting the TPA’s general concern that “[c]onsistently, throughout the




  6
      The following issues were raised by the Government on pages 9-11 of the Government’s Submission [DE-43].
  7
    Under ECP § I.D, there are three types of audit findings, ranging in least severe to most severe: Observation, Non-
  Conformity, or Major Non-Conformity. ECP § I.D defines a Major Non-Conformity as “an observed situation where
  objective evidence indicates a violation of a Marine Environmental Protection Requirement or policies established by
  this ECP that consists of or contributes to the discharge or potential discharge of oil, or oily wastes, or other prohibited
  wastes into the water. It may also include the discovery of pollution prevention equipment determined to be incapable in
  terms of processing and monitoring capabilities or inadequate with respect to the quantities of wastes such equipment is
  required to process.”
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  audit, engineering logs, record keeping, and checklists were found sub-standard as evident in the

  number of non-conformities issues for these items.” DE-43 at 10. The Company’s update on how

  it addressed the TPA’s findings of non-conformities on the Diamond Princess and Sapphire

  Princess, which incorporate the TPA’s general concerns, are as follows. Of course, for each non-

  conformity, the Company reviewed the issue to develop corrective and preventative actions.

         Response of the United States: Pursuant to ECP Sec. 8.F., the Company is supposed to

  address all Audit Findings, and that includes Observations as well as Non-conformities. The

  Company’s response does not speak to its obligation to address all Audit Findings, including

  Observations.

         Since the status hearing there have been several significant developments.          First, on

  November 13, 2017, the TPA made a finding of a major non-conformity following an audit of the

  Sun Princess. The government has made follow-up inquiries regarding apparent discharges in U.S.

  ports of pollutants used to clean the decks of vessels and is awaiting the Company’s response.

  Carnival has advised that it has banned deck cleaning and the use of the identified chemicals in port

  pending its investigation. The government has requested that Carnival explain whether the

  discharges in U.S. ports that have taken place violate the Clean Water Act.

         Second, following the status hearing and based on the Coast Guard’s review of the TPA’s

  audit report findings, the Coast Guard, TPA and CAM have had discussions which have determined

  that the TPA was misinterpreting the definition of a major non-conformity. As a result, the TPA

  was considering Carnival’s response to a finding and remedial measures in defining whether there

  was a major non-conformity. As a result of those discussions, all have agreed that the definition is

  an objective one and does not consider the response. The TPA will be using the correct objective

  standard going further and will be amending past audit reports to accurately report and characterize
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  the severity of past findings.

             a. Diamond Princess Findings

       Non-Conformity-01: “The sampling line leading from the discharge line just prior to the
        three way valve to the sampling unit on the Centrifugal OWS (Alfa Laval unit) was not
        painted international orange as required by the ECP. All other sampling lines on this unit
        and the Static OWS (RWO unit) were properly marked. The non-conformity was corrected
        on the spot.”
          o Corrective and Preventative Actions:
                 The non-conformity was corrected on the spot. The ship painted the sampling
                   line international orange during the audit.
                 Requirements of DER-2002 were reiterated to the fleet by email.

       Non-Conformity-02: “The Garbage Record Book is not being accurately maintained as
        required. Objective Evidence: Several discrepancies sighted between the quantities
        reported on the garbage receipts and those reported in the Garbage Record Book (GRB).
        Additionally, descriptions and amounts were not detailed. One receipt indicated 12 kg of
        batteries were disposed; the type and size was not documented. Objective Evidence:
        Auditors observed entries for different wastes under a single Category were not clearly
        indicated in the Garbage Record Book. One entry indicated 17 m³ of Category C items were
        disposed. It was not indicated if this was Glass, general waste, wood, etc. Receipts from
        vendors do not always break down items properly and errors occurred when converting the
        quantities to cubic meters as required by the Garbage Record Book; further errors in adding
        amounts together in the GRB were noted.”
          o Corrective and Preventative Actions:
                 Implemented policy for EOs to provide better scrutiny when reviewing entries
                    of GRB to ensure waste receipts match volumes in GRB.
                 Chief Engineer’s have undertaken a spot check of GRB on a weekly basis for a
                    period of 2 months to ensure compliance.

       Non-Conformity-03: “Environmental familiarization training for the vendors/contractors
        on board the vessel is not being carried out as required under the ECP. Objective Evidence:
        The ECP audit team did not receive any familiarization or briefing when we boarded. In
        addition, there was a contractor team on board doing AC chiller work that did not receive
        any briefings or familiarization. The senior management on the ship stated they did not give
        the contractors any familiarization training. The ship’s crew stated they had been told by
        the company offices via email they didn’t have to do it. The email was not available for
        review.”
          o Corrective and Preventative Actions:
                 Heads of Department have carried out all familiarization training for contractors
                    and have offered said training to ECP Auditors.
                 By December 20, 2017, Safety Training requirements are to be added to Monthly
                    Safety Self Assessments / ISM Monitoring report, and all ships to confirm that

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                  required training is being carried out in accordance with OHS-1302 by all
                  vendors and offered to ECP Auditors.

      Non-Conformity-04: “Bunker plan not being retained in records as prescribe in policy
       number: TEC-1402-Oil Bunkering. Objective Evidence: Observed copy of Bunker Plan
       posted in the Bunker Station. During review of bunker records, checklists and receipts, no
       copies of the Bunker Plan for each occurrence were being retained with the other documents
       required under HESS policy TEC-1402-Oil Bunkering. All other documents were being
       retained in accordance with the policy guidance.”
         o Corrective and Preventative Actions:
                Director of HESS-MS has liaised with the Corporate Maritime Policy and
                   Analysis Department (“MPA”) regarding the update of TEC-1401 and the
                   subsequent release to the fleet of the updated policy. The update of TEC-1402
                   is to be completed.
                The MPA will also conduct a full review of the procedures and take corrective
                   actions as necessary.

      Non-Conformity-05: “Bunker Station Piping System not labeled in accordance with
       company standards HESS: DER-1401.”
        o Corrective and Preventative Actions:
              Chief Engineer has ensured that Bunker Station piping is clearly labelled and
                 identified as per DER-1401.

      Non-Conformity-06: “Sample points required by the ECP were not properly identified by
       the Chief Engineer. This led to insufficient sample bottles being on hand to carry out the
       sampling. In addition, the ECP requires one (1) sample per grey water/black water tank in
       the first year while the company sampling procedure developed by the third-party testing
       facility requires 3 samples per tank.”
         o Corrective and Preventative Actions:
                 The vessel has reviewed ABSG sampling guidance and ensured that sufficient
                   bottles are held and sampling valves are fitted.
                 ABSG sampling plan guidance has been circulated fleet-wide with instruction to
                   ensure sufficient bottles are held and sampling valves are fitted.

      Non-Conformity-07: “Reporting of OWS monthly test not being sent to OLCM as
       required. Last report was sent in June 2017. OLCM has sent email stating reports to be
       taken from AMOS. This contradicts ECP and HESS ENV 1201.”
         o Corrective and Preventative Actions:
                Ship has provided July and August reports to the OLCM.
                AMOS work order has been updated to include notation to email OLCM with
                  the monthly report.




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           b. Sapphire Princess Findings

      Non-Conformity-01: “Environmental Management System for Bunkering and Sludge
       Procedures found to be inconsistent, containing errors, and out dated forms. Objective
       Evidence [1]: TEC-1401 - Disposal of Sludge. Oily Water, Grey Water and Sewage Oil
       Bunkering Procedure Paragraph 4.2: states: ‘in lieu of Appendix 1 use the following link:’
       However, Appendix 1 is still listed in procedure with active links leading to obsolete forms,
       resulting in improper forms being used by crew. [Objective Evidence 2] TEC-1401-
       Disposal of Sludge. Oily Water, Grey Water and Sewage Oil Bunkering Procedure
       Paragraph 4.2: provides a link to the Discharge Disposal Plan but does not provide
       instruction regarding when to fill out, posting or retention. [Objective Evidence 3] TEC-
       1401-Disposal of Sludge. Oily Water, Grey Water and Sewage Oil Bunkering Procedure
       Paragraph 5: does not clearly state the length of time documents should be retained and each
       document has different retention times resulting in records not being properly maintained.
       The Disposal Plan is not listed. [Objective Evidence 4] TEC-1402- Oil Bunkering:
       Paragraph 5 does not clearly state the time documents should be retained and each document
       has different retention times resulting in records being properly maintained.”
         o Corrective and Preventative Actions:
                TEC-1401 has been reviewed, in consultation with the TPA, in an effort to
                   standardize the forms. It has since been published and all ships are required to
                   use the newly updated forms. All vessels have also been advised of the updated
                   TEC-1401 forms and were required to confirm its usage. The same process is
                   underway regarding TEC-1402.

      Non-Conformity-02: “Overdue purchase orders for critical spare parts are not being
       effectively followed up and updated delivery dates obtained from the vendor. Objective
       Evidence: Two overdue purchase orders (THER12212A and T714170947) identified as
       urgent were observed in the AMOS system. On board delivery dates were reported to be 1
       August 2017 and 8 August 2017. At the time of the audit, the storekeeper confirmed neither
       order had been received. The only procedure in place for the storekeeper to track overdue
       purchase orders was for the crew member to review AMOS and to send an email to the
       individual in shore side purchasing responsible for expediting and following up on the
       order.”
         o Corrective and Preventative Actions:
                Ship to confirm orders have been received and to scan delivery notes as
                   evidence.
                In order to track raised purchase orders for ECP critical items, the Company will
                   require that buyers set the ECP Order Forms Alert on their respective vessels’
                   AMOS Dashboard. The Company will also require that the status of orders be
                   checked on a daily basis. The Company will further require that onboard
                   delivery dates be verified with the freight forwarder, and any changes should be
                   recorded in the Supply Chain notes and the onboard delivery date field should
                   be updated.


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      Non-Conformity-03: “Unplanned maintenance or repairs are not being effectively
       recorded in AMOS. Objective Evidence: The Oil to sea Interface log indicates a significant
       quantity of hydraulic oil is lost from Bow Thruster #1 every week, reportedly due to internal
       leakages. No documentation was available to show that the cause of the leak was
       investigated, identified, and repaired. A review of the AMOS maintenance tracking system
       indicated that no unplanned maintenance has been carried out on the machinery since the
       oil leaks were first entered into the log book. An email showing the bow thruster was
       scheduled for a minor overhaul during the upcoming dry dock in March 2018 as part of the
       regular maintenance schedule in AMOS.”
         o Corrective and Preventative Actions:
                Work Order has been submitted for the overhaul/replacement of Bow Thruster
                   #1 Pinion Shaft Seal at dry dock in March 2018. Dry Dock specification
                   procedures require work orders to be created for all jobs at dry dock, meaning
                   that this work order will be in addition to the one that will be required/created
                   for thruster “Minor Overhaul.”
                The ship has instructed relevant crew members that the addition of oil, including
                   cleaned/collected oil, be recorded as additional notes in the Oil to Sea Interface
                   log.
                The fleet has been reminded to review ENV-1202 with regard to the addition of
                   oil, which will be promulgated by the EO during the next EO Conference Call
                   to the engineers.

      Non-Conformity-04: “Pulper Piping Not Properly Identified. Objective Evidence: Two
       (2) unsecured valves with quick disconnect valves located on the food waste discharge line
       leading directly overboard. One on each Food Waste Tank discharge line. Valves not
       recorded in the Vessel Vulnerability Assessment (VVA).”
         o Corrective and Preventative Actions:
               During the TPA audit itself, the Company addressed this issue by removing
                  valves, adding and welding flanges, and adding locations to the Vessel's VA.
               Audit findings have been shared with the fleet. An Environmental Compliance
                  Notice has been issued to provide guidance on reviewing and conducting
                  vulnerability assessments.

      Non-Conformity-05: “Training records not properly maintained. Members signing for
       multiple courses with one signature. Object Evidence: Training is being provided the day
       new crew members come on board. ECP required training segments are provided to
       technical and non-technical members simultaneously as well as the segments for all
       members. Only one sign in sheet is provided for the day of training and does not indicate
       which training(s) members attended. The training is entered into personnel records based
       on job title, not by actual course/segments attended. Therefore, no objective evidence
       available showing which course/segment(s) the members attended. Additionally, upon
       cross referencing the sign in sheets over a 3-month period to the personnel management
       system (MAPS) with the HR Director, it was noted the majority of the members cross-
       referenced have missing entries. Therefore, it cannot be verified that the crew members
       (technical and non-technical) have received the required training in accordance with
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        company and ECP polices. However, it should also be noted that during the official
        interviews of the crewmembers as well as random questioning, knowledge of the ECP,
        environmental regulations, opening reporting and company polices was evident.”
          o Corrective and Preventative Actions:
                 The Operating Line Training Manager has worked with the EOs so that they
                   understand the requirement for separate logs to document separate training even
                   if the trainings were conducted at the same session.
                 A standard roster form for ECP training has been distributed to the fleet to ensure
                   compliance with the policy.
                 The Operating Line Training Manager has worked with the MAPS data team to
                   ensure that the correct data is able to be inputted into MAPS to facilitate the
                   tracking and proper maintenance of training records.
                 For additional corrective and preventative actions relating to the falsification or
                   mismanagement of training records, see supra regarding Notice of Violation 4
                   and Notice of Violation 6.

      Non-Conformity-06: “The Oil to Sea Interface log is not being properly maintained and
       reviewed. Objective Evidence: The Oil to Sea Interface log book indicates that since March
       2017, Bow Thruster #1 head tank and power pack have routinely lost oil. The log indicates
       that the loss was due to internal leakages, but no description of the leakage was provided.
       Each entry was signed by the officer responsible for the soundings and refilling of the
       equipment. The Chief Engineer reviewed and signed the log weekly as required by HESS
       procedures but was not aware of the source of the oil leak.”
         o Corrective and Preventative Actions:
                Retraining of all Technical Officers on the “Oil to Sea Interface Log” procedures
                   and the importance of ascertaining the source of any leaks if any system requires
                   topping up has been completed.
                The corrective actions here are linked to those employed in Non-Conformity 3,
                   supra, which are intended to address the relevant issue on a fleet-wide basis.

      Non-Conformity-07: “Oil Bunkering Procedures records found to be missing and
       incomplete. Objective Evidence: MARPOL Annex V1 Bunker Sample Record form, TEC-
       1402-A1not being used or retained in records as prescribe in policy TEC-1402 - Oil
       Bunkering. Bunker Plan TEC-1402-A5 not being used or retained in records as prescribe[d]
       in policy TEC-1402 - Oil Bunkering. The Bunker Plans are not[] being completed or posted
       as required during transfer operation. Bunker Checklist TEC-1402-A4 not properly filled
       out or completed as prescribe[d] in policy number: TEC-1402 - Oil Bunkering. Times and
       Facility PIC items missing, [s]ignatures missing times and sometimes dates.”
         o Corrective and Preventative Actions:
                Retraining of all personnel involved with the Fuel Oil Bunkering process in the
                  Company’s Policy and Procedures, which included the review of all required
                  documentation, has been completed
                Entries were corrected where personnel remained onboard. If that was not
                  possible, then a late entry was to be made by the Chief Engineering Officer.

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                  The Company also conducted spot checks which revealed that the vessel was
                   now completing the Bunker Plan correctly.

      Non-Conformity-08: “Sludge and Oily Water Disposal records found to be missing and
       incomplete. Objective Evidence: Sludge and Oily Water Disposal Plan TEC-1401-A5 not
       properly filled out or completed as prescribe[d] in policy TEC -1402 Disposal of Sludge.
       Sludge and Oily Water Disposal Checklist TEC-1401-A1 not properly filled out or
       completed as prescribe[d] in policy TEC -1402 Disposal of Sludge. Times and Facility PIC
       items missing, [s]ignatures missing times and sometimes dates.”
         o Corrective and Preventative Actions:
               Chief Engineer to instruct Engineer Officer of the Watch on the importance of
                   the disposal plan and proper recordation under TEC-1401-A5.
               By mid-December 2017, weekly spot checks are to be completed by the Chief
                   Engineering Officer for a period of two months from the issuance of this report.

      Non-Conformity-09: “Records Not Being Maintained in Accordance with Polices and
       Procedure. Objective Evidence: Bunker plan not being retained in records as prescribe in
       policy number: TEC-1402 - Oil Bunkering.”
        o Corrective and Preventative Actions:
                As per the requirements of TEC-1402 paragraph 3.1, the Chief Engineer will
                 ensure that correct and up-to-date detailed instructions are in use onboard and
                 the contents of these instructions are known and understood by all relevant
                 members of the Technical Department.
                The corrective actions here are linked to those employed in Non-Conformity 7,
                 supra.
                As per the Company’s correctives actions regarding Non-Conformity 1, TEC-
                 1402 will be updated to address the issues found by the TPA. The update is
                 underway and will also include indications of retention times.

      Non-Conformity-10: “Ship was not prepared to properly take samples as prescribed by
       ECP. Objective Evidence: Sample points required by the ECP were not properly identified
       by the Chief Engineer. Sampling not able to be carried out in accordance with the ECP
       requirements and company sampling procedures. Recent interpretation regarding sampling
       of grey/black water collection tanks resulted in insufficient sample bottles on hand. Email
       sent to sampling coordinator incorrectly identified numerous sample points. In addition,
       due to the recent changes regarding sampling of collection tanks, an urgent shipment of
       additional bottles was ordered by shore side but failed to arrive prior to the ship’s departure.
       Therefore, insufficient bottles were available to take the 150 samples required to be taken
       from all overboard discharges (including OWS) and from all tanks (double bottom holding
       tanks and grey/black water collecting tanks).”
         o Corrective and Preventative Actions:
                New sample points were installed during the TPA audit to allow for OWS
                   sampling.
                Fleet-wide guidance has been transmitted to instruct other vessels on appropriate
                   procedures.
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                    The vessel has reviewed ABSG sampling guidance and ensured that sufficient
                     bottles are held and sampling valves are fitted.
                    ABSG sampling plan guidance has been circulated fleet-wide with instruction to
                     ensure sufficient bottles are held and sampling valves are fitted.

             c. Carnival’s Corporate Office Findings

         The Government’s Submission also specifically noted the findings of non-conformities in

  the TPA’s shoreside audit of Carnival’s Corporate Office from August 14-18, 2017. DE-43 at 10.

  The Company’s update on how it addressed the TPA’s findings of non-conformities are as follows.

  Of course, for each non-conformity, the Company conducted internal reviews in order to review

  the issue and develop corrective and preventative actions.

       Non-Conformity-01: Regarding the Company’s Risk Advisory and Assurance Services
        department (“RAAS”), the TPA found: “At the time of the audit, multiple level 3
        investigations relevant to pollution incidents have occurred from September 2016 to July
        2017, 24 investigations were found to still remain open. Evidence was provided by the
        RAAS Director of Investigation showing where he has requested follow up from the Lead
        Investigators residing at the Line level on a regular basis. However no recent feedback or
        investigation updates had been provided to the RAAS Director of Investigations at the time
        of this audit.”
          o Corrective and Preventative Actions:
                  The Company will now require that a monthly update on the status of all Severity
                    3 investigations in progress at all brands be provided to the RAAS Director of
                    Investigations in order to ensure that all issues are being reviewed and resolved
                    in a timely manner. The first update is to be provided by November 30, 2017.
                  RAAS will update HMP 1303 to define: (1) Operating Line progress report
                    frequency based on the investigation’s complexity (Severity 1 to 4); (2) the VP
                    of RAAS Maritime will be required to discuss Severity 4 investigations during
                    the quarterly EVP meetings; and (3) VP of RAAS Maritime will provide a
                    factual statement on the incident to the MPA within 15 days of commencing a
                    Severity 4 investigation.
                  Overall, the Company acknowledges the difficulties observed by the TPA and is
                    revising its HESS investigation procedure to ensure more timely investigation
                    results.

       Non-Conformity-02: Regarding RAAS, the TPA found: “Incidents in violation of Marpol
        Annex IV and V regulations and company procedure ENV 1001 due to discharge overboard
        of comminuted food waste and treated black water inside 12 nautical miles of the Bahamas
        baseline were reported on the vessel Carnival Elation on voyages between June 4 and June
        16, 2017. Reference is to the environmental incident report 005_2017-EL. Further
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         investigation revealed the existence of similar reports issued to other Carnival Cruise Line
         vessels (Carnival Freedom, Carnival Liberty, Carnival Magic, Carnival Conquest, Carnival
         Splendor and Carnival Vista). At the time of the audit the investigation about these incidents
         was found open. The HESS-MS procedure ENV 1001 was found revised and containing
         additional information to the vessel to avoid future incidents. A copy of the internal
         Carnival Cruise Line internal communication sent to the Line feet requiring Masters and
         Chief Engineers to confirm awareness and updates of the procedure was also provided.
         However the information learned from the ongoing investigation, including the notification
         of procedure change, has not been circulated to all the Operating Lines as required by the
         HESS-MS Procedure.”
           o Corrective and Preventative Actions:
                  Environmental Compliance Notice # 10 was issued on August 22, 2017 to
                     specifically address the Bahamas baseline incidents. The Company also
                     employed the Safety and Environmental Awareness Bulletin for communicating
                     lessons learned.
                  A Working Group has been established to identify non-shoreline claims.
                  RAAS will update HMP 1303 to define: (1) Operating Line progress report
                     frequency based on the investigation complexity (Severity 1 to 4); (2) the VP of
                     RAAS Maritime will be required to discuss Severity 4 investigations during the
                     quarterly EVP meetings; and (3) VP of RAAS Maritime will provide a factual
                     statement on the incident to the MPA within 15 days of commencing a Severity
                     4 investigation.

         Response of the United States: The United States has not had sufficient time to review and

  analyze the above assertions. The government is evaluating whether the remedial measures are

  documented, whether the remedial measures respond to the underlying causes of identified

  problems, whether there are generic trends, and whether the identification of problems and

  implementation of remedial measure are being comprehensively tracked.

             d. Concern Regarding Failure to Provide Information Requested by TPA

         The Government’s Submission also noted that the TPA advised the Government of a

  concern that the Company had declined to provide certain information requested by the TPA,

  specifically information related to corrective actions regarding non-conformities. See DE-43 at 10-

  11.   The Company believes that this issue simply reflected a miscommunication and

  misunderstanding between the Company and the TPA. This issue has been clarified and relayed to

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  the Government. Namely, the TPA has access to the Company’s corrective action plans through

  the Global HESS system. Further, the Company asserts that it has been and will continue to support

  the TPA’s efforts and provide the TPA with all necessary information, including information

  regarding corrective actions, as it has in this status report. Certainly the quarterly status reports

  requested by this Court will also provide a manner by which the Company can provide all of the

  Interested Parties with information regarding its corrective actions to non-conformities discovered

  during vessel and shoreside audits.

         Response of the United States: The government appreciates the above statement but has

  not yet had an opportunity to verify that the TPA’s concerns have been fully resolved. With regard

  to quarterly status reports, the government views the Court’s request as a method to inform the

  Court. However, the government does not view the quarterly reports as the primary method of

  keeping the interested parties fully informed. The United States expects that Carnival will provide

  fulsome and up-to-date information to the interested parties, CAM and TPA.

             e. TPA Audit Reports Received After October 17, 2017

         Since October 17, 2017, the TPA has completed several additional audits of Company

  vessels and shore-side facilities. The Company will be prepared to address any concerns arising

  from those and future audits in subsequent quarterly reports. However, it should also be noted that,

  to date, the TPA has only identified one major non-conformity during its audits, which was found

  on the TPA’s audit onboard the Sun Princess on November 5-9, 2017, for which there is currently

  no final report. On November 13, 2017, the TPA notified the company by letter that it had identified

  a major non-conformity regarding the discharge of two deck cleaning chemicals – Deck Clean NP

  and Metal Brite HD (the “Identified Chemicals”) – while the vessel was moored in port and

  underway. Subsequently, the Government made several documentary requests in an email to the
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  Company on November 16, 2017 relating to the TPA’s finding. Carnival is evaluating whether the

  Identified Chemicals were in-fact improperly discharged.

         Given the uncertainty and the importance given to these matters by the Company, upon

  receipt of the TPA’s letter, the Company took action in the first 24 hours to discontinue all deck

  cleaning in port and to permit the use of only fresh water to clean decks while in international

  waters. Following initial review, the Company authorized ships to resume using fresh water in port

  if permitted by local rules. In other words, the Company took steps to ensure that all deck cleaning

  with the identified chemicals, Deck Clean NP and Metal Brite HD, was discontinued while at port

  and at sea as the Company was conducting its review of the finding. The Company also promptly

  engaged in a positive dialogue with the TPA and has been working diligently to both provide the

  TPA with a written response to the TPA’s letter and to provide the Government with the information

  sought by its requests. In the interim, on November 20, 2017, the Company subsequently notified

  all Interested Parties that, based on its initial review, the Company would resume the use of the

  Identified Chemicals for their intended purpose exclusively while its vessels are in international

  waters and consistent with MARPOL Annex V and related guidance, specifically the 2012

  Guidelines for the Implementation of MARPOL Annex V, Resolution MEPC.219(63) (the “MEPC

  Resolution”).   The Company is continuing to undertake a thorough review of the issue and its

  records in order to assist all involve in coming to a conclusion regarding the use and disposal of

  these deck cleaning chemicals.

         Response of the United States: Carnival’s statement regarding the Sun Princess contains

  facts and assertions that appear premature and have not been verified by the government. The

  government has asked questions and requested records that will help to evaluate Carnival’s

  discharges in U.S. ports, including possible violations of the Clean Water Act during the period of
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  probation. In addition to the pending request, the government takes this opportunity to ask that

  Carnival inform the interested parties, CAM and TPA as to what steps it took prior to the TPA’s

  finding of a major non-conformity to assess the propriety and legality of using cleaning chemicals

  on its ships and discharging them in U.S. ports.

     D. The Company’s Broad Efforts to Address Concerns and Ensure ECP Compliance

         As an initial matter, the Company feels that it is important to state that it takes full

  responsibility for any non-conformities by its employees thus far and, as discussed, has taken

  immediate action to remedy any issues and prevent future incidents. The Company believes that

  these deviations are largely reflective of the growing-pains that reasonably would be anticipated

  and which come with the early implementation stages of a massive and comprehensive compliance

  plan like the ECP. There is no indication that these issues are symptomatic of broader issues, but

  to the extent that trends have emerged, the Company is doing everything it can to prevent and

  remediate them. As part of this process, the Company feels it is important to not simply highlight

  the Company’s issue specific corrective actions above, but to also remind the Court and the

  Interested Parties of the extensive list of efforts discussed in the Company’s October 17, 2017

  Submission. See DE-44 at 14-20 (noting, among other things, that the Company had already spent

  or committed $30,000,000 towards ECP compliance, implementation, and environmental initiatives

  as of October 17, 2017 and anticipates an estimated $10,000,000 in recurring costs annually). The

  Company has invested significant effort and resources, including investments of millions of dollars,

  to improve corporate structure and governance, policies and procedures, technology, training,

  auditing, and corporate culture. In addition to complying with the ECP, the goal of these efforts

  has been twofold: to enhance oversight and accountability, and to drive the message from top to

  bottom of the Company that environmental compliance is a fundamental corporate value and
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  priority. The Company is committed to continuing this progress into the next years of Princess’s

  probation and beyond.

          Response of the United States: The government objects to the inclusion of this section in

  a joint filing regarding facts. It contains assertions that are unverified and incomplete. If this section

  is retained, the government notes that the applicable laws are not new and that Carnival and its

  brands have been previously convicted of environmental crimes and previously served period of

  probation and been subject to ECPs.

  III.    Conclusion

          The parties hope that the foregoing provides this Court with sufficient information regarding

  the status of the outstanding issues raised in the Court’s Order [DE-49]. The parties will be prepared

  to discuss the contents of this joint status report further at the Status Conference. Pursuant to the

  Court’s Order [DE-49], at the Status Conference, the parties will also be prepared to (1) discuss the

  parties’ plans for the contents of the quarterly reports that were discussed at the October 18, 2017

  status conference and the timetable for filing the reports, and (2) address the logistics of holding

  quarterly status conferences, including specific dates and whether the parties prefer to attend the

  conferences in person or via video-conference.

  Dated: November 29, 2017


                                                  Respectfully submitted,

                                                  FOREMAN FRIEDMAN, P.A.

                                          By: /s/ Catherine J. MacIvor__________
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                                    CERTIFICATE OF SERVICE

         I, Catherine J. MacIvor, hereby certify that on November 29, 2017, I electronically filed the

  foregoing with the Clerk of the Court by using the CM/ECF system, which will send a notice of

  electronic filing to counsel of record.




                                                           By: Catherine J. MacIvor
                                                               Catherine J. MacIvor




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